                             IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                                                       HEARING MINUTES Sealed: No
            Plaintiff,                                                          Case No.: 22-MJ-14-KEM
      vs.                                                                Presiding Judge: Kelly K.E. Mahoney, Chief Magistrate
                                                                                          Judge
KENNETH RADER,                                                              Deputy Clerk: jag
           Defendant.                                              Official Court Record: FTR Gold            Contract?    --
                                                                    Contact Information: --
Date: 1/20/2022     Start:   11:03 a.m.    Adjourn:     11:22 a.m. Courtroom:        SC First Floor
Recesses:                                                    Time in Chambers:                                     Telephonic?      No
Appearances:       Plaintiff:    AUSA Shawn Wehde
                 Defendant:      FPD Brad Hansen (defendant appears personally)
             U.S. Probation:     Matt Sturdevant
                 Interpreter:                                      Language:                          Certified:           Phone:
TYPE OF PROCEEDING:          INITIAL APPEARANCE:              X   AND/OR        ARRAIGNMENT:
                                                                          Contested? No        Continued from a previous date?      No
                  Charging District’s Documents:        Arrest Warrant and Complaint filing in the District of Columbia filed on
                                                        1/11/2022
                  Was defendant Mirandized?             Yes
                  Counsel:           Retained:              or Appointed: X FPD/Other: Brad Hansen
                                                                 Did defendant provide financial affidavit? No
                  Did the government move for detention?               No Was the defendant detained?          No
                  Was a detention hearing set?           No Date:
                  Was a preliminary hearing set?         No Date:
                  Witness/Exhibit List is               --
                  The offering party must, within 3 days after the hearing, file in electronic form any exhibit that was not filed with a
                  motion, resistance, or other filing related to this hearing. Pub. Admin. Order 09-AO-03-P (5/29/09) ¶7.
                  Miscellaneous:         Defendant to remain in US Marshals custody until he is interviewed by US Probation. He
                                         shall then be released, under certain conditions set by the court, to appear via Zoom on
                                         1/27/2022 at 1:00PM EST before Magistrate Judge G. Michael Harvey of the District of
                                         Columbia. Defendant waives his right to an identity hearing and any preliminary hearing in
                                         this district. The court finds this is a knowing and voluntary waiver. Orders to follow.




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